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                      UNTED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA
                           Newport News Division
 JAMES T. PARKER, II and
 DEBRA L. PARKER,

                Plaintiffs,
 v.                                                           Civil Action No.: 4:18cv00140

 FREEDOM MORTGAGE
 CORPORATION, et al.,

                Defendants.

   MEMORANDUM IN SUPPORT OF CONSENT MOTION FOR ENLARGEMENT
 OF TIME TO RESPOND TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        Plaintiffs James T. Parker, II and Debra L. Parker, by Counsel, have moved the Court to

 enlarge the time by which Plaintiffs are to file their opposition to Defendant Freedom Mortgage

 Corporation’s Motion for Summary Judgment (ECF 39). For the reasons that follow, the Court

 should grant the Motion.

                                       I.     BACKGROUND.

        Though this case began with three Defendants, Plaintiffs have settled their claims against

 Equifax and Experian, leaving Freedom as the only live Defendant. Discovery closed for

 Defendants on September 13, 2019, and trial is set for October 22, 2019. (ECF 16 ¶¶ 1, 3.) Freedom

 moved for summary judgment on September 13, filing redacted briefs, and served the unredacted

 versions on Plaintiffs on September 16. (ECF 57.) By Local Rule, Plaintiffs’ Opposition to

 Freedom’s Motion is due September 30, 2019. Plaintiffs request a modest, four-day enlargement

 of their deadline to respond, to October 4, 2019. Freedom consents to the proposed enlargement

 provided that Freedom’s Motion is still timely and can be heard by the Court prior to trial.

        Freedom’s Motion attacks multiple aspects of each of Plaintiffs’ two claims, and such a

 comprehensive motion requires significant evidentiary analysis and research to counter. Due to the
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 timing of the Motion, Plaintiffs’ opposition brief comes due during the same period the Parties are

 exchanging their pretrial materials and otherwise preparing the case for the upcoming trial.

 Separately, Plaintiffs’ Lead Counsel has had pretrial preparations in other matters, including the

 crafting and filing of pretrial materials similar to those in this case during this same period. Lead

 Counsel has been engaged in summary-judgment briefing, a mediation, and court appearances also

 this week. He is as well part of a speaking panel at the Symposium on the Law & Economics of

 Consumer Protection hosted by George Mason University’s Antonin Scalia Law School, on

 September 30. Given all of these simultaneous demands on Lead Counsel’s time, he submits that

 the short enlargement requested is appropriate.

                                         II.     DISCUSSION.

         Federal Rule of Civil Procedure 6(b) permits the Court to enlarge an unexpired deadline

 “for good cause.” FED. R. CIV. P. 6(b)(1)(A); Staley v. Gruenberg, No. 1:12-cv-530 (GBL/JFA),

 2013 WL 12096490, at *6 (E.D. Va. May 10, 2013), aff’d, 575 F. App’x 153 (4th Cir. 2014). Here,

 such good cause exists.

         As noted above, Freedom’s Motion is a comprehensive attack on Plaintiffs’ case, requiring

 such a dedication of resources at a time during which Plaintiffs’ Counsel’s available resources are

 stretched thin. The timing of Plaintiffs’ responsive briefing, coupled with his other case and legal-

 field commitments, provide sufficient good cause for the requested enlargement.

         The enlargement is not requested for reasons of delay, or other improper purpose. The

 additional time will not impact other deadlines in the case, as there are none relating to dispositive

 motions or other motions pending before trial. The enlargement will not prejudice either Party, as

 confirmed by Freedom’s consent to the proposed relief. Plaintiffs therefore request that the Court

 grant it.




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                                        III.    CONCLUSION.

        Good cause exists for Plaintiffs’ requested enlargement. Freedom’s Motion raises complex

 issues that require significant legal analysis, and the case schedule will not be affected by enlarging

 the opposition deadline. The Court should therefore grant Plaintiffs’ Motion.

 Dated: September 30, 2019.

                                                        Respectfully submitted,
                                                        PLAINTIFFS, et al.,

                                                                /s/
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                                  CERTIFICATE OF SERVICE
        I hereby certify that on this 30th day of September, 2019, I will electronically file the

 foregoing with the Clerk of the Court using the CM/ECF system, which will then send a

 notification of such filing (NEF) to all counsel of record.



                                                       /s/
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